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11    LLC
12
                              UNITED STATES DISTRICT COURT
13
                             CENTRAL DISTRICT OF CALIFORNIA
14
      SOVEREIGN PEAK VENTURES,                 CASE NO. 2:18-cv-10069
15    LLC
                                               COMPLAINT FOR PATENT
16
                   Plaintiff,                  INFRINGEMENT
17          v.
                                               DEMAND FOR JURY TRIAL
18    FEIT ELECTRIC COMPANY,
      INC.,
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20                 Defendant.
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 1         Plaintiff Sovereign Peak Ventures, LLC (“SPV”), by and through the
 2   undersigned counsel, hereby files this Complaint and makes the following
 3   allegations of patent infringement relating to U.S. Patent Nos. 6,577,073, 7,204,607
 4   and 7,235,817 against Defendant Feit Electric Company, Inc. (“Feit”), and alleges
 5   as follows upon actual knowledge with respect to itself and its own acts and upon
 6   information and belief as to all other matters:
 7                              NATURE OF THE ACTION
 8         1.     This is an action for patent infringement. SPV alleges that Feit
 9   infringes U.S. Patent Nos. 6,577,073 (the “’073 patent”), 7,204,607 (the “’607
10   patent”), and 7,235,817 (the “’817 patent”), copies of which are attached hereto as
11   Exhibits A-C (collectively, “the Asserted Patents”).
12         2.     SPV alleges that Feit directly infringes the Asserted Patents by
13   making, using, offering for sale, selling, and/or importing LED bulbs. SPV seeks
14   damages and other relief for Feit’s infringement of the Asserted Patents.
15                                      THE PARTIES
16         3.     Plaintiff SPV is a Texas limited liability company with its principal
17   place of business in Plano, Texas.
18         4.     Upon information and belief, Feit is a California corporation with a
19   place of business in Pico Rivera, California.
20                              JURISDICTION AND VENUE
21         5.     This action for patent infringement arises under the Patent Laws of the
22   United States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28
23   U.S.C. §§ 1331 and 1338.
24         6.     This Court has both general and specific jurisdiction over Feit because
25   Feit has committed acts within the Central District of California giving rise to this
26   action and has established minimum contacts with this forum such that the exercise
27   of jurisdiction over Feit would not offend traditional notions of fair play and
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 1   substantial justice. Defendant Feit, directly and through subsidiaries, intermediaries
 2   (including distributors, retailers, franchisees and others), has committed and
 3   continues to commit acts of patent infringement in this District, by, among other
 4   things, making, using, testing, offering for sale, selling and importing products that
 5   infringe the Asserted Patents.
 6         7.     Venue is proper in this district and division under 28 U.S.C. §§
 7   1391(b)-(d) and 1400(b) because Feit has committed acts of infringement in the
 8   Central District of California and has at least one regular and established place of
 9   business in the Central District of California.
10             COUNT I – INFRINGEMENT OF U.S. PATENT NO. 6,577,073
11         8.     The allegations of paragraphs 1-7 of this Complaint are incorporated
12   by reference as though fully set forth herein.
13         9.     SPV owns by assignment the entire right, title, and interest in the ’073
14   patent.
15         10.    The ’073 patent was issued by the United States Patent and Trademark
16   Office on June 10, 2003 and is titled “LED Lamp.” A true and correct copy of the
17   ’073 patent is attached as Exhibit A.
18         11.    Upon information and belief, Feit has directly infringed at least claim
19   1 of the ’073 patent by making, using, testing, selling, offering for sale and/or
20   importing in the United States without authority devices such as the Feit Smart Wifi
21   Bulb Color Changing & Tunable White Bulbs (collectively “the Accused Infringing
22   Devices”) in an exemplary manner as described below.
23         12.    The Accused Infringing Devices are LED lamps.
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           13.   The Accused Infringing Devices have a blue LED for producing an
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     emission wavelength falling within a blue wavelength range. Exemplary blue
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     LEDs, which are covered in a yellow phosphor, can been seen in the picture of an
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     Accused Infringing Device below.
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                                            COMPLAINT – CASE NO. 2:18-CV-10069
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 8         14.   The Accused Infringing Devices have a red LED for producing an
 9   emission at a wavelength falling within a red wavelength range.
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18         15.   The Accused Infringing Devices have a phosphor that has been
19   photoexcited by the blue LED to exhibit a luminescence having an emission
20   spectrum in an intermediate wavelength range between the blue and red wavelength
21   ranges.
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                                            COMPLAINT – CASE NO. 2:18-CV-10069
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 1         16.     Feit has infringed, and continues to infringe, at least claim 1 of the
 2   ’073 patent in the United States, by making, using, offering for sale, selling and/or
 3   importing the Accused Infringing Devices in violation of 35 U.S.C. § 271(a).
 4         17.     Upon information and belief, Feit may have infringed and continues to
 5   infringe the ’073 patent through other devices utilizing the same or reasonably
 6   similar functionality, including other versions of the Accused Infringing Devices.
 7         18.     Feit’s acts of direct infringement have caused and continue to cause
 8   damage to SPV and SPV is entitled to recover damages sustained as a result of
 9   Feit’s wrongful acts in an amount subject to proof at trial.
10             COUNT II – INFRINGEMENT OF U.S. PATENT NO. 7,204,607
11         19.     The allegations of paragraphs 1-7 of this Complaint are incorporated
12   by reference as though fully set forth herein.
13         20.     SPV owns by assignment the entire right, title, and interest in the ’607
14   patent.
15         21.     The ’607 patent was issued by the United States Patent and Trademark
16   Office on April 17, 2007 and is titled “LED Lamp.” A true and correct copy of the
17   ’607 patent is attached as Exhibit B.
18         22.     Upon information and belief, Feit has directly infringed at least claim
19   9 of the ’607 patent by making, using, testing, selling, offering for sale and/or
20   importing in the United States without authority devices such as Feit Smart Wifi
21   Bulb Color Changing & Tunable White Bulbs (collectively “the Accused Infringing
22   Devices”) in an exemplary manner as described below.
23         23.     The Accused Infringing Devices are light emitting diodes (LEDs).
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13         24.    The Accused Infringing Devices contain a substrate, a cluster of LEDs,
14   which are arranged two-dimensionally on the substrate and an interconnection
15   circuit which is electrically connected to the LEDs.
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26         25.    The Accused Infringing Devices contain LEDs where a first group of
27   LEDs, which are located around the outer periphery of the cluster, and a second
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                                             COMPLAINT – CASE NO. 2:18-CV-10069
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 1   group of LEDs, which are located elsewhere in the cluster (e.g., toward the center).
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12         26.    The Accused Infringing Devices contain an interconnection circuit
13   wherein the interconnection circuit has an interconnection structure for separately
14   supplying drive currents to at least one of the LEDs in the first group and to at least
15   one of the LEDs in the second group separately from each other. One or more of the
16   LEDs in the outer periphery can be operated independently of one or more LEDs
17   located toward the center.
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28         27.    The emission of the LEDs from the first group in the Accused
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 1   Infringing Devices has a lower color temperature than that of the LEDs in the
 2   second group.
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           28.     Feit has infringed, and continues to infringe, at least claim 9 of the
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     ’607 patent in the United States, by making, using, offering for sale, selling and/or
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     importing the Accused Infringing Devices in violation of 35 U.S.C. § 271(a).
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           29.     Upon information and belief, Feit may have infringed and continues to
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     infringe the ’607 patent through other devices utilizing the same or reasonably
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     similar functionality, including other versions of the Accused Infringing Devices.
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           30.     Feit’s acts of direct infringement have caused and continue to cause
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     damage to SPV and SPV is entitled to recover damages sustained as a result of
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     Feit’s wrongful acts in an amount subject to proof at trial.
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               COUNT III – INFRINGEMENT OF U.S. PATENT NO. 7,235,817
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           31.      The allegations of paragraphs 1-7 of this Complaint are incorporated
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     by reference as though fully set forth herein.
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           32.      SPV owns by assignment the entire right, title, and interest in the ’817
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     patent.
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  1         33.     The ’817 patent was issued by the United States Patent and Trademark
  2   Office on June 26, 2007 and is titled “LED Lamp.” A true and correct copy of the
  3   ’817 patent is attached as Exhibit C.
  4         34.    Upon information and belief, Feit has directly infringed at least claim
  5   1 of the ’817 patent by making, using, testing, selling, offering for sale and/or
  6   importing in the United States without authority devices such as Feit Smart Wifi
  7   Bulb Color Changing & Tunable White Bulbs (collectively “the Accused Infringing
  8   Devices”) in an exemplary manner as described below.
  9         35.     The Accused Infringing Devices are LED lamps.
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            36.     The Accused Infringing Devices contain a substrate, a cluster of LED
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      chips, which are arranged two-dimensionally on the substrate and a plurality of
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      phosphor resin portions that cover the respective LED chips.
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 13         37.    Each phosphor resin portion in the Accused Infringing Devices
 14   includes a phosphor for transforming the emission of its associated LED chips into a
 15   light ray having a longer wavelength than that of the emission.
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 23         38.    In the Accused Infringing Devices, the size of the phosphor resin
 24   portions which cover the LED chips located in an outer region of the cluster is set
 25   bigger than that of the other phosphor resin portions which cover the LED chips
 26   located in the remaining non-outer region.
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 13         39.    Feit has infringed, and continues to infringe, at least claim 1 of the
 14   ’817 patent in the United States, by making, using, offering for sale, selling and/or
 15   importing the Accused Infringing Devices in violation of 35 U.S.C. § 271(a).
 16         40.    Upon information and belief, Feit may have infringed and continues to
 17   infringe the ’817 patent through other devices utilizing the same or reasonably
 18   similar functionality, including other versions of the Accused Infringing Devices.
 19         41.    Feit’s acts of direct infringement have caused and continue to cause
 20   damage to SPV and SPV is entitled to recover damages sustained as a result of
 21   Feit’s wrongful acts in an amount subject to proof at trial.
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                                    PRAYER FOR RELIEF
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            WHEREFORE, SPV respectfully prays that the Court enter judgment in their
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      favor and against Feit as follows:
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                  a.      A judgment that Feit has infringed one or more claims of the
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      ’073 Patent literally and/or under the doctrine of equivalents;
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                  b.      A judgment that Feit has infringed one or more claims of the
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                                               COMPLAINT – CASE NO. 2:18-CV-10069
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  1   ’607 Patent literally and/or under the doctrine of equivalents;
  2                 c.   A judgment that Feit has infringed one or more claims of the
  3   ’817 Patent literally and/or under the doctrine of equivalents;
  4                 d.   That for each Asserted Patent this Court judges infringed by Feit
  5   this Court award SPV its damages pursuant to 35 U.S.C. § 284 and any royalties
  6   determined to be appropriate;
  7                 e.   That this be determined to be an exceptional case under 35
  8   U.S.C. § 285 and that SPV be awarded enhanced damages up to treble damages for
  9   willful infringement as provided by 35 U.S.C. § 284;
 10                 f.   That this Court award SPV prejudgment and post-judgment
 11   interest on its damages;
 12                 g.   That SPV be granted its reasonable attorneys’ fees in this action;
 13                 h.   That this Court award SPV its costs; and
 14                 i.   That this Court award SPV such other and further relief as the
 15   Court deems proper.
 16                              DEMAND FOR JURY TRIAL
 17         SPV hereby demands trial by jury on all issues so triable pursuant to Fed. R.
 18   Civ. P. 38.
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 20    Dated: December 3, 2018               FEINBERG DAY ALBERTI LIM &
                                             BELLOLI LLP
 21
 22                                          By: /s/ Marc Belloli
                                                Marc Belloli
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 24                                          Attorneys for Plaintiff
                                             Sovereign Peak Ventures, LLC
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                                               COMPLAINT – CASE NO. 2:18-CV-10069
